                                                                                                                                 Case 17-11330-LSS            Doc 320-1     Filed 03/06/18      Page 1 of 2


                                                                                                                                                              Claims Register Report
                                                                                                                                                        Date Range:06/18/2017-03/05/2018




    Date Filed Claim No.                        Name                                Creditor Notice Name                      Address 1                           Address 2                Address 3             City    State       Zip      Country      Claim Amount                Nature         Debtor Name      Debtor Number
    06/27/2017     1       American Alternative Insurance Corporation   Roanoke Group                              1475 E. Woodfield Rd #500                                                           Schaumburg       IL       60173                          $400,000.00   General Unsecured   A.M. Castle & Co.   17-11331
    06/28/2017     2       CDW, LLC                                     Attn Ronelle Erickson                      200 N. Milwaukee Ave                                                                Vernon Hills     IL       60061                              $541.21   Priority            A.M. Castle & Co.   17-11331
    06/28/2017     2       CDW, LLC                                     Attn Ronelle Erickson                      200 N. Milwaukee Ave                                                                Vernon Hills     IL       60061                            $1,192.32   General Unsecured   A.M. Castle & Co.   17-11331
    06/30/2017     3       Energy Steel Products, LLC                                                              7404 Railhead Lane                                                                  Houston          TX       77086                            $4,069.68   General Unsecured   Keystone Tube Compan17-11330
    07/03/2017     4       Duke Energy Carolinas                                                                   550 South Tryon Street DEC45A                                                       Charlotte        NC       28202                            $6,499.36   General Unsecured   A.M. Castle & Co.   17-11331
    07/03/2017     5       Los Angeles County Treasurer and Tax                                                    PO Box 54110                                                                        Los Angeles      CA       90054                  W/D                   Priority            A.M. Castle & Co.   17-11331
                           Collector
     07/05/2017      6     Riviera Finance, assignee for Economy        Riviera Finance                            5506 Sunol Blvd, Ste 203                                                            Pleasanton       CA       94566                            $2,303.00 General Unsecured     A.M. Castle & Co.      17-11331
                           Grinding and Straightening Inc
     07/07/2017      7     DALLAS COUNTY                                ELIZABETH WELLER                           LINEBARGER GOGGAN BLAIR &            2777 N. STEMMONS FREEWAY,                      DALLAS           TX       75207                           $72,787.69 Secured               A.M. Castle & Co.      17-11331
                                                                                                                   SAMPSON, LLP                         SUITE 1000
     07/07/2017      8     TARRANT COUNTY                               ELIZABETH WELLER                           LINEBARGER GOGGAN BLAIR &            2777 N. STEMMONS FREEWAY                       DALLAS           TX       75207                           $74,923.83 Secured               A.M. Castle & Co.      17-11331
                                                                                                                   SAMPSON, LLP                         SUITE 1000
     07/10/2017      9     New York State Department of Taxation and    Bankruptcy Section                         PO Box 5300                                                                         Albany           NY       12205-0300                         $792.23 Priority              A.M. Castle & Co.      17-11331
                           Finance
     07/10/2017     10     New York State Department of Taxation and    Bankruptcy Section                         PO Box 5300                                                                         Albany           NY       12205-0300                          $50.00 General Unsecured     Total Plastics, Inc.   17-11334
                           Finance
     07/11/2017     11     HARRIS COUNTY, ET AL                         JOHN P DILLMAN                             LINEBARGER GOGGAN BLAIR & PO BOX 3064                                               HOUSTON          TX       77253-3064                    $2,631,863.92 Secured              A.M. Castle & Co.      17-11331
                                                                                                                   SAMPSON, LLP
     07/11/2017     12     Cypress - Fairbanks ISD                      Linebarger Goggan Blair & Sampson, LLP     PO Box 3064                                                                         Houson           TX       77253-3064                    $1,693,038.93 Secured              A.M. Castle & Co.      17-11331
     07/13/2017     13     Pitney Bowes Global Financial Services LLC   Pitney Bowes In                            27 Waterview Dr., 3rd Fl                                                            Shelton          CT       06484                               $919.03 General Unsecured    A.M. Castle & Co.      17-11331

     07/20/2017     14     Northern Indiana Public Service Company      NIPSCO                                     801 E. 86th Ave                                                                     Merrillville     IN       46410                           $59,194.84   General Unsecured   Keystone Tube Compan17-11330
     07/19/2017     15     Old Dominion Freight Line, Inc.                                                         500 Old Dominion Way                                                                Thomasville      NC       27360                           $27,784.23   General Unsecured   A.M. Castle & Co.   17-11331
     07/18/2017     16     THIELSCH ENGINEERING                                                                    195 FRANCES AVENUE                                                                  CRANSTON         RI       02910                              $800.00   General Unsecured   A.M. Castle & Co.   17-11331
     07/14/2017     17     H & E Equipment Services, Inc                                                           7500 Pecue Lane                                                                     Baton Rouge      LA       70809                              $885.03   General Unsecured   A.M. Castle & Co.   17-11331
     07/14/2017     18     Therm - Tech of Waukesha, Inc                                                           301 Travis Lane                                                                     Waukesha         WI       53189                              $531.10   General Unsecured   A.M. Castle & Co.   17-11331
     07/19/2017     19     WU/LH 15 Excutive, LLC                       Mark L. Lubelsky and Associates            123 West 18th Street, Eighth Floor                                                  New York         NY       10011                  UNLIQUIDATED          General Unsecured   A.M. Castle & Co.   17-11331

     07/17/2017     20     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      HY-Alloy Steels Compa 17-11332
                                                                        Soulard
     07/17/2017     20     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                       $20,928,214.00 General Unsecured     HY-Alloy Steels Compa 17-11332
                                                                        Soulard
     07/17/2017     21     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      HY-Alloy Steels Compa 17-11332
                                                                        Soulard
     07/17/2017     22     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      HY-Alloy Steels Compa 17-11332
                                                                        Soulard
     07/17/2017     22     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                          $210,285.00 General Unsecured     HY-Alloy Steels Compa 17-11332
                                                                        Soulard
     07/17/2017     23     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                       $20,928,214.00 General Unsecured     A.M. Castle & Co.      17-11331
                                                                        Soulard
     07/17/2017     23     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      A.M. Castle & Co.      17-11331
                                                                        Soulard
     07/17/2017     24     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      A.M. Castle & Co.      17-11331
                                                                        Soulard
     07/17/2017     24     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                          $210,285.00 General Unsecured     A.M. Castle & Co.      17-11331
                                                                        Soulard
     07/17/2017     25     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      A.M. Castle & Co.      17-11331
                                                                        Soulard
     07/17/2017     26     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Keystone Service, Inc. 17-11333
                                                                        Soulard
     07/17/2017     26     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                          $210,285.00 General Unsecured     Keystone Service, Inc. 17-11333
                                                                        Soulard
     07/17/2017     27     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Keystone Service, Inc. 17-11333
                                                                        Soulard
     07/17/2017     28     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Keystone Service, Inc. 17-11333
                                                                        Soulard
     07/17/2017     28     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                       $20,928,214.00 General Unsecured     Keystone Service, Inc. 17-11333
                                                                        Soulard
     07/17/2017     29     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                       $20,928,214.00 General Unsecured     Total Plastics, Inc.   17-11334
                                                                        Soulard
     07/17/2017     29     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Total Plastics, Inc.   17-11334
                                                                        Soulard
     07/17/2017     30     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Total Plastics, Inc.   17-11334
                                                                        Soulard
     07/17/2017     31     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Total Plastics, Inc.   17-11334
                                                                        Soulard
     07/17/2017     31     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                          $210,285.00 General Unsecured     Total Plastics, Inc.   17-11334
                                                                        Soulard
     07/17/2017     32     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Keystone Tube Compan17-11330
                                                                        Soulard
     07/17/2017     33     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                  UNLIQUIDATED          Admin Priority      Keystone Tube Compan17-11330
                                                                        Soulard
     07/17/2017     33     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                          $210,285.00 General Unsecured     Keystone Tube Compan17-11330
                                                                        Soulard
     07/17/2017     34     Pension Benefit Guaranty Corporation         Office of the Chief Counsel, Attn Louisa   1200 K. Street, N.W., Suite 320                                                     Washington       DC       20005                       $20,928,214.00 General Unsecured     Keystone Tube Compan17-11330
                                                                        Soulard



In re Keystone Tube Company, LLC (A.M. Castle Co.)
Case No. 17-11330 (LSS)                                                                                                                                           Page 1 of 2
                                                                                                                                       Case 17-11330-LSS            Doc 320-1     Filed 03/06/18      Page 2 of 2


                                                                                                                                                                    Claims Register Report
                                                                                                                                                              Date Range:06/18/2017-03/05/2018




    Date Filed Claim No.                    Name                                        Creditor Notice Name                         Address 1                          Address 2                Address 3           City        State     Zip     Country     Claim Amount               Nature          Debtor Name       Debtor Number
    07/17/2017     34    Pension Benefit Guaranty Corporation              Office of the Chief Counsel, Attn Louisa      1200 K. Street, N.W., Suite 320                                                     Washington          DC    20005                 UNLIQUIDATED          Admin Priority      Keystone Tube Compan17-11330
                                                                           Soulard
     07/24/2017     35     WU/LH 15 Executive, LLC                         Mark L. Lubelsky and Associates               123 West 18th Street, Eighth Floor                                                  New York            NY   10011                  UNLIQUIDATED          General Unsecured   Keystone Tube Compan17-11330

     07/21/2017     36     Regional Income Tax Agency                      Attn Legal Dept                               PO Box 470537                                                                       Broadview Heights   OH   44147                              $204.99   Priority            A.M. Castle & Co.   17-11331
     07/21/2017     37     Commonwealth Edison Company                     ComEd Bankruptcy Department                   1919 Swift Drive                                                                    Oakbrook Terrace    IL   60523                            $3,021.88   General Unsecured   Keystone Tube Compan17-11330
     07/21/2017     38     Regional Income Tax Agency                      Attn Legal Dept                               PO Box 470537                                                                       Broadview Heights   OH   44147                           $14,146.44   Priority            Keystone Tube Compan17-11330
     08/01/2017     39     BANKDIRECT CAPITAL FINANCE                                                                    150 NORTH FIELD DRIVE, STE                                                          LAKE FOREST         IL   60045                          $372,025.99   Secured             Keystone Tube Compan17-11330
                                                                                                                         190
     08/04/2017     40     Corporation Services Company                                                                  251 Little Falls                                                                    Wilmington          DE   19808                              $228.71   General Unsecured   Total Plastics, Inc.   17-11334
     08/04/2017     41     Corporation Service Company                                                                   251 Little Falls                                                                    Wilmington          DE   19808                              $239.21   General Unsecured   Keystone Tube Compan17-11330
     08/04/2017     42     Corporation Services Company                                                                  251 Little Falls                                                                    Wilmington          DE   19808                               $56.21   General Unsecured   Keystone Service, Inc. 17-11333
     08/04/2017     43     Corporation Services Company                                                                  251 Little Falls                                                                    Wilmington          DE   19808                            $2,463.53   General Unsecured   A.M. Castle & Co.      17-11331
     08/04/2017     44     Corporation Services Company                                                                  251 Little Falls                                                                    Wilmington          DE   19808                              $241.21   General Unsecured   HY-Alloy Steels Compa 17-11332
     08/07/2017     45     The Illuminating Company                                                                      5001 NASA Blvd                                                                      Fairmont            WV   26554                           $19,808.93   General Unsecured   Keystone Tube Compan17-11330
     08/07/2017     46     Tennessee Department of Revenue                 TDOR c/o Attorney General                     PO Box 20207                                                                        Nashville           TN   37202-0207                      $88,897.62   Priority            Total Plastics, Inc.   17-11334
     08/07/2017     46     Tennessee Department of Revenue                 TDOR c/o Attorney General                     PO Box 20207                                                                        Nashville           TN   37202-0207                      $19,139.63   General Unsecured   Total Plastics, Inc.   17-11334
     08/10/2017     47     National Grid                                                                                 300 Erie Blvd W                                                                     Syracuse            NY   13202                              $261.10   General Unsecured   A.M. Castle & Co.      17-11331
     08/10/2017     48     GLAS Trust Company LLC                          Richard Bernard, Esq                          90 Park Avenue                                                                      New York            NY   10016                           $25,889.58   General Unsecured   Keystone Service, Inc. 17-11333
     08/10/2017     49     GLAS Trust Company LLC                          Richard Bernard, Esq                          90 Park Avenue                                                                      New York            NY   10016                           $25,889.58   General Unsecured   A.M. Castle & Co.      17-11331
     08/10/2017     50     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          General Unsecured   Keystone Tube Compan17-11330
     08/10/2017     50     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          Admin Priority      Keystone Tube Compan17-11330
     08/10/2017     51     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          Admin Priority      Total Plastics, Inc.   17-11334
     08/10/2017     51     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          General Unsecured   Total Plastics, Inc.   17-11334
     08/10/2017     52     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          General Unsecured   HY-Alloy Steels Compa 17-11332
     08/10/2017     52     GLAS Trust Company LLC                          Richard J Bernard & Douglas E Spelfogel       Foley & Lardner LLP                  90 Park Avenue                                 New York            NY   10016-1314             UNLIQUIDATED          Admin Priority      HY-Alloy Steels Compa 17-11332
     08/07/2017     53     Southern California Gas Company Mass                                                          P.O. Box 30337                                                                      Los Angeles         CA   90030                              $246.68   General Unsecured   Keystone Tube Compan17-11330
                           Market Credit & Collections
     08/14/2017     54     PECO Energy Company                                                                           2301 Market Street, S23-1                                                           Philadelphia        PA   19103                            $4,548.78 General Unsecured     A.M. Castle & Co.    17-11331
     08/14/2017     55     Ferrellgas Inc                                                                                One Liberty Plaza MD 40                                                             Liberty             MO   64068                              $763.31 General Unsecured     Keystone Tube Compan17-11330
     08/14/2017     56     Pennsylvania Department of Revenue                                                            Bankruptcy Division PO Box                                                          Harrisburg          PA   17128-0946                      $36,082.68 Priority              Total Plastics, Inc. 17-11334
                                                                                                                         280946
     08/14/2017     56     Pennsylvania Department of Revenue                                                            Bankruptcy Division PO Box                                                          Harrisburg          PA   17128-0946                      $16,498.40 General Unsecured     Total Plastics, Inc.   17-11334
                                                                                                                         280946
     08/14/2017     57     National Grid                                                                                 300 Erie Blvd W                                                                     Syracuse            NY   13202                              $687.12 General Unsecured     Total Plastics, Inc.   17-11334
     08/21/2017     58     U.S. Bank, N.A. d/b/a U.S. Bank Equipment       U.S. Bank Equipment Finance                   1310 Madrid Street                                                                  Marshall            MN   56258                           $81,895.00 Secured               Total Plastics, Inc.   17-11334
                           Finance
     08/21/2017     58     U.S. Bank, N.A. d/b/a U.S. Bank Equipment       U.S. Bank Equipment Finance                   1310 Madrid Street                                                                  Marshall            MN   56258                           $61,072.63 General Unsecured     Total Plastics, Inc.   17-11334
                           Finance
     08/25/2017     59     Arlington Independent School District           Eboney Cobb                                   500 East Border St, Suite 640                                                       Arlington           TX   76010                          $165,775.76 Secured               A.M. Castle & Co.   17-11331
     08/25/2017     60     Verizon Business Global LLC, on behalf of its   William M Vermette                            22001 Loudoun County Pkwy                                                           Ashburn             VA   20147                            $8,945.32 General Unsecured     Keystone Tube Compan17-11330
                           affiliates and subsidiaries
     08/29/2017     61     Caterpillar Inc.                                Attn A. Nellos                                100 NE Adams Street                                                                 Peoria              IL   61629                           $21,343.69   General Unsecured   Keystone Tube Compan17-11330
     09/05/2017     62     Penske Truck Leasing Co., L.P.                                                                PO Box 563                                                                          Reading             PA   19603-0563                       $1,015.00   General Unsecured   A.M. Castle & Co.    17-11331
     09/11/2017     63     Rhode Island Division of Taxation               Bankruptcy Unit                               One Capitol Hill                                                                    Providence          RI   02908                           $14,380.00   Priority            Total Plastics, Inc. 17-11334
     09/11/2017     63     Rhode Island Division of Taxation               Bankruptcy Unit                               One Capitol Hill                                                                    Providence          RI   02908                            $1,295.58   General Unsecured   Total Plastics, Inc. 17-11334
     09/12/2017     64     Sheldon Independent School District             Owen M. Sonik                                 1235 North Loop West Suite 600                                                      Houston             TX   77008                               $49.43   Secured             A.M. Castle & Co.    17-11331
     09/19/2017     65     Texas Comptroller of Public Accounts            Office of the Attorney General                Bankruptcy & Collections Division    P.O. Box 12548                                 Austin              TX   78711-2548             W/D                   Priority            A.M. Castle & Co.    17-11331
                                                                                                                         MC-008
     09/27/2017     66     Massachusetts Department of Revenue             Collections Bureau - Bankruptcy Unit          Box 9564                                                                            Boston              MA   02114-9564                         $614.00   Admin Priority      Total Plastics, Inc. 17-11334
     09/27/2017     67     Massachusetts Department of Revenue                                                           PO Box 9564                                                                         Boston              MA   02114-9564                       $3,459.28   Priority            Total Plastics, Inc. 17-11334
     09/27/2017     67     Massachusetts Department of Revenue                                                           PO Box 9564                                                                         Boston              MA   02114-9564                         $419.20   General Unsecured   Total Plastics, Inc. 17-11334
     09/29/2017     68     California Credits Group, LLC                                                                 251 S. Lake Ave #400                                                                Pasadena            CA   91101                           $72,773.00   General Unsecured   Keystone Tube Compan17-11330
     10/02/2017     69     INTERNATIONAL DECORATORS, INC.                                                                28059 W. COMMERCIAL AVE.                                                            BARRINGTON          IL   60010-2443                         $475.00   General Unsecured   Keystone Tube Compan17-11330
     10/03/2017     70     Connecticut Department of Revenue Services      Bankruptcy Team                               450 Columbus Blvd. Ste. 1                                                           Hartford            CT   06103                              $251.31   Priority            A.M. Castle & Co.    17-11331

     10/03/2017     70     Connecticut Department of Revenue Services      Bankruptcy Team                               450 Columbus Blvd. Ste. 1                                                           Hartford            CT   06103                              $299.38 General Unsecured     A.M. Castle & Co.      17-11331

     10/10/2017     71     Franchise Tax Board                             Bankruptcy Section MS A340                    PO Box 2952                                                                         Sacramento          CA   95812-2952             UNLIQUIDATED          General Unsecured   A.M. Castle & Co.      17-11331
     10/10/2017     71     Franchise Tax Board                             Bankruptcy Section MS A340                    PO Box 2952                                                                         Sacramento          CA   95812-2952                      $25,749.55   Secured             A.M. Castle & Co.      17-11331
     10/10/2017     72     Franchise Tax Board                                                                           PO Box 2952                                                                         Sacramento          CA   95812-2952             UNLIQUIDATED          General Unsecured   Total Plastics, Inc.   17-11334
     10/18/2017     73     State of New Jersey Division of Taxation        State of NJ Division of Taxation Bankruptcy   PO Box 245                                                                          Trenton             NJ   08695                            $3,920.00   Priority            A.M. Castle & Co.      17-11331
                           Bankruptcy Section
     10/18/2017     73     State of New Jersey Division of Taxation        State of NJ Division of Taxation Bankruptcy   PO Box 245                                                                          Trenton             NJ   08695                            $5,340.00 General Unsecured     A.M. Castle & Co.      17-11331
                           Bankruptcy Section
     10/20/2017     74     New York State Department of Taxation and       Bankruptcy Section                            PO Box 5300                                                                         Albany              NY   12205-0300                       $3,353.00 Priority              Total Plastics, Inc.   17-11334
                           Finance
     10/20/2017     74     New York State Department of Taxation and       Bankruptcy Section                            PO Box 5300                                                                         Albany              NY   12205-0300                         $739.00 General Unsecured     Total Plastics, Inc.   17-11334
                           Finance
     10/23/2017     75     The Ohio Department of Taxation                 Bankruptcy Div.                               PO Box 530                                                                          Columbus            OH   43216                  W/D                 Priority              Total Plastics, Inc.   17-11334
     10/23/2017     75     The Ohio Department of Taxation                 Bankruptcy Div.                               PO Box 530                                                                          Columbus            OH   43216                  W/D                 General Unsecured     Total Plastics, Inc.   17-11334
     11/06/2017     76     State of New Jersey Division of Taxation and    State of NJ Division of Taxation Bankruptcy   PO Box 245                                                                          Trenton             NJ   08695                            $9,682.28 Priority              Total Plastics, Inc.   17-11334
                           Bankruptcy Section
     12/20/2017     77     Rhode Island Division of Taxation               Bankruptcy Unit                               One Capitol Hill                                                                    Providence          RI   02908                            $2,333.57   Priority            A.M. Castle & Co.      17-11331
     12/20/2017     77     Rhode Island Division of Taxation               Bankruptcy Unit                               One Capitol Hill                                                                    Providence          RI   02908                              $586.50   General Unsecured   A.M. Castle & Co.      17-11331
     01/05/2018     78     BellSouth Communications, Inc.                  Karen A. Cavagnaro - Lead Paralegal           c/o AT&T Services, Inc               One AT&T Way, Room 3A104                       Bedminster          NJ   07921                              $800.67   General Unsecured   A.M. Castle & Co.      17-11331
     01/23/2018     79     United Parcel Service                           c/o RMS (an iQor Company)                     PO Box 361345                                                                       Columbus            OH   43236                            $1,872.95   General Unsecured   A.M. Castle & Co.      17-11331



In re Keystone Tube Company, LLC (A.M. Castle Co.)
Case No. 17-11330 (LSS)                                                                                                                                                 Page 2 of 2
